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 1                                                     Judge Robert J. Bryan
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 6
                              UNITED STATES DISTRICT COURT
 7                           WESTERN DISTRICT OF WASHINGTON
                                       AT TACOMA
 8

 9
      UNITED STATES OF AMERICA,        )
10
                                       ) NO. CR09-5452RJB
                            Plaintiff, )
11
                                       )
                    v.                 ) ORDER TO SEAL
12
                                       )
      JUAN ANTONIO MOLINA-ABARCA, )
13
                                       )
                           Defendant. )
14

15         Based upon the motion of the United States, and the representations made therein,
16   it is HEREBY ORDERED that
17         The Sentencing Memorandum as to JUAN ANTONIO MOLINA-ABARCA in
18   this matter be FILED UNDER SEAL because it contains sensitive information and is not
19   permitted to be made publicly available.
20         IT IS SO ORDERED.
21         DATED this 15th day October, 2010.


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                                                Robert J Bryan
                                                United States District Judge
25   Presented by:
26   s/Roger S. Rogoff
27
     ROGER S. ROGOFF
     Assistant United States Attorney
28


                                                                               UNITED STATES ATTORNEY
                                                                               1201 Pacific Avenue, Suite 700
     ORDER TO SEAL - 1                                                          Tacoma, Washington 98402
     CR09-5452RJB                                                                     (253) 428-3800
